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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                    FORT MYERS DIVISION

EUGENIA II INVESTMENT HOLDINGS
LIMITED (BVI),

                  Plaintiff,

v.                                                          Case No.: 2:20-cv-843-FtM-66NPM

ANTHONY BELISLE,

                 Defendant.
                                                  /

              TRACK TWO NOTICE AND CORPORATE DISCLOSURE ORDER

           This suit is designated as a Track Two case under Local Rule 3.05. To comply

with Federal Rule of Civil Procedure 16, all counsel and any pro se litigant must meet in

person, by telephone, or via videoconference to conduct a Rule 26(f)(2) conference within

30 days after the defendant’s first appearance by answer, motion, removal, or other

filing.1

           The parties must jointly file their Case Management Report (found on the

assigned district judge’s website), the Pretrial & Discovery Plan (found on the assigned

magistrate judge’s website), and Related Case Notice—in three separate docket

entries—14 days after the Rule 26(f)(2) conference. Except as authorized by Rule 26(d),

no party may seek discovery from any source before the meeting, unless the Court orders

otherwise.




1Initially, the parties need not conduct a Rule 26(f)(2) conference in most ERISA, FLSA, ADA, FDCPA,
TCPA (as amended by the Junk Fax Prevention Act), RESPA, FCRA and FCCPA cases. Instead, a
scheduling order tailored to the case will be issued by the Court upon the first appearance of any defendant.
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      All nongovernmental corporate parties must comply with Federal Rule of Civil

Procedure 7.1 by identifying any parent corporation and publicly held corporation owning

10% or more of its stock, or stating that there is no such corporation with the first

appearance, pleading, petition, motion, response, or other request addressed to the

Court, and they must promptly file a supplemental statement if any required information

changes. The failure to do so may result in the imposition of sanctions, including

striking the first appearance, pleading, petition, motion, response, or other

request.

      Plaintiff (or Defendant in a removal case) is responsible for serving a copy of this

Order on each party no later than fourteen (14) days after appearance of the party.

      DONE and ORDERED in Fort Myers, Florida on this 2nd day of November 2020.


        /s/ Sheri Polster Chappell                      /s/ John Badalamenti
          Sheri Polster Chappell                           John Badalamenti
        United States District Judge                  United States District Judge

            /s/ John E. Steele                            /s/ Mac R. McCoy
              John E. Steele                                 Mac R. McCoy
    Senior United States District Judge             United States Magistrate Judge

       /s/ Nicholas P. Mizell
            Nicholas P. Mizell
      United States Magistrate Judge


Copies to: All Parties of Record




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